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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             CHARLESTON DIVISION

JANE DOE,                          )
                                   )
      Plaintiff,                   )
                                   )
v.                                 )                       Civil Action No. 2:21-cv-00491
                                   )                       The Honorable Judge Johnston
THE CITY OF GAULEY BRIDGE and )
LARRY CLAY, JR., individually as a )
member of the Gauley Bridge Police )
Department,                        )
                                   )
      Defendants.                  )
__________________________________ )

                                   AMENDED COMPLAINT

       COMES NOW, Jane Doe Plaintiff, by counsel, and pursuant to Fed. R. Civ. P.

15(a)(1)(B), files this her Amended Complaint as follows:

                                        JURY DEMAND

       1.      Plaintiff hereby demands a trial by jury.

                                JURISDICTION AND VENUE

       2.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331 and

under its authority to decide pendent state law claims.

       3.      Plaintiff files this Complaint, pursuant to 42 U.S.C. § 1983, alleging violations of

her constitutional rights.   Specifically, Plaintiff alleges that, inter alia, her substantive due

process rights under the Fourteenth Amendment to the United States Constitution were violated

when she was repeatedly sexually assaulted by Defendant Larry Clay, Jr. in June 2020 in Fayette

County, West Virginia, while she was a seventeen (17) year old minor and, when he displayed

photographs of Plaintiff taken while she was naked, violating her constitutional right to privacy.
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       4.      Venue is proper because one or more of the above-named Defendants reside

within the Southern District of West Virginia, Charleston Division, and because the incidents

giving rise to this Complaint occurred in the Southern District of West Virginia, Charleston

Division.

                                             PARTIES

       5.      Jane Doe Plaintiff (hereinafter “Plaintiff”) was at all times relevant hereto a

resident of Fayette County, West Virginia.

       6.      Defendant the City of Gauley Bridge (hereinafter, the “City of Gauley Bridge”) is

a municipality established under the laws of West Virginia and located in Fayette County, West

Virginia.   The Gauley Bridge Police Department (hereinafter, the “Gauley Bridge PD”),

including its agents and employees, is a subdivision of the City of Gauley Bridge and subject to

the authority, control, and discipline of the City of Gauley Bridge.

       7.      Defendant Larry Clay, Jr. (hereinafter “Chief Clay”) was at all times relevant

hereto an agent and employee of the Gauley Bridge PD and was at all times relevant hereto

acting under color of law and within the scope of his employment as the Chief of the Gauley

Bridge PD. Chief Clay, who upon information and belief resides in Fayette County, West

Virginia, is sued only in his individual capacity under the Section 1983 claims.

       8.      Defendants are sued up to the limits of the insurance policy that provides liability

coverage for their actions and omissions.

                                                FACTS

       9.      Plaintiff hereby incorporates by reference the allegations contained in paragraphs

1 through 8 as though fully set forth herein.




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        10.     At the time of the incidents giving rise to this Complaint, Plaintiff was a

seventeen (17) year old minor.

        11.     At the time of the incidents giving rise to this Complaint, Plaintiff lived with and

was otherwise in the custody of her ex-step-father, Charles Legg, and his wife, Kristen Naylor-

Legg (hereinafter “Mrs. Naylor-Legg”).

        12.     Upon information and belief, in or around April-May 2020, Mrs. Naylor-Legg

began having an extra-marital affair with Chief Clay.

        13.     At some point thereafter, Chief Clay expressed to Mrs. Naylor-Legg that he was

sexually interested in Plaintiff, even though he knew Plaintiff was a minor.

        14.     Chief Clay expressed to Mrs. Naylor-Legg that he would pay Plaintiff to touch

herself in a sexual way while he and Mrs. Naylor-Legg had sexual intercourse.

        15.     At some point prior to June 2020, while Plaintiff was still a minor, Mrs. Naylor-

Legg began taking cellular phone pictures of Plaintiff’s naked breasts and buttocks.

        16.     Mrs. Naylor-Legg then sent these naked pictures of Plaintiff to Chief Clay (and

other individuals) in exchange for money.

        17.     During the Spring - Early Summer of 2020, Chief Clay (in his capacity as a

Gauley Bridge PD officer) attended a high school graduation party where Plaintiff was also

present.

        18.     Upon information and belief, Chief Clay was acting within the scope of his

employment by providing security for the party.

        19.     Chief Clay followed Plaintiff around the party, continually trying to get physically

close to her.

        20.     During the party, Plaintiff did her best to avoid Chief Clay.


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        21.     That night after the party, Mrs. Naylor-Legg told Plaintiff that Chief Clay was

sexually interested in her and that he was upset that Plaintiff showed no interest in him.

        22.     That night after the party, Mrs. Naylor-Legg expressed to Plaintiff that if she did

not begin showing more interest in Chief Clay, she would throw Plaintiff out of the house,

leaving her to live on the street.

        23.     In June 2020, while Plaintiff was still a minor, Mrs. Naylor-Legg arranged for

Plaintiff to have sexual intercourse with Chief Clay in exchange for money.

        24.     Chief Clay was aware that Plaintiff was a minor at the time because, inter alia, he

and Mrs. Naylor-Legg had previously discussed Plaintiff’s upcoming 18th birthday.

        25.     Mrs. Naylor-Legg told Plaintiff that she needed to have sexual intercourse with

Chief Clay in exchange for money, because the family needed the funds to keep the utilities on in

their home.

        26.     On the evening in question, Mrs. Naylor-Legg drove Plaintiff to a remote location

on Cain Branch Road, just outside of the City of Gauley Bridge, to meet Chief Clay.

        27.     Upon information and belief, Chief Clay was on-duty with the Gauley Bridge PD

at the time of this encounter.

        28.     Chief Clay arrived at the location in a Gauley Bridge PD cruiser and wearing his

Gauley Bridge PD uniform.

        29.     Upon arriving, Chief Clay unzipped his uniform pants, exposed his penis, and

directed Plaintiff to perform oral sex upon him.

        30.     Chief Clay then bent Plaintiff over the side of his Gauley Bridge PD cruiser, had

sexual intercourse with her, then ejaculated on the ground.




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        31.    After Chief Clay was finished, he paid Mrs. Naylor-Legg fifty (50) dollars in

cash.

        32.    Chief Clay told Plaintiff to “keep her mouth shut” about the sexual encounter and

not to “tell anyone.”

        33.    Chief Clay, at all times relevant herein, was aware that his position as an officer

permitted him to “employ the coercive power of his previous positions.” See, United States v.

Clay, No. 2:21-mj-00069, 2021 U.S. Dist. LEXIS 75233, * 7 (S.D. W. Va. Apr. 19, 2021).

        34.    On the evening in question, another minor female rode with Plaintiff in Mrs.

Naylor-Legg’s vehicle and witnessed the sexual encounter between Plaintiff and Chief Clay,

described hereinabove.

        35.    According to this minor female eye witness, Mrs. Naylor-Legg compelled

Plaintiff to have sexual intercourse with Chief Clay by telling her she “had to do this” and “can’t

back out now.”

        36.    Later in June 2020, while Plaintiff was still a minor, Mrs. Naylor-Legg again

arranged for Plaintiff to have sexual intercourse with Chief Clay in exchange for money.

        37.    On the evening in question, Mrs. Naylor-Legg drove Plaintiff to Gauley Bridge

City Hall (formerly Gauley Bridge High School) to meet Chief Clay.

        38.    Upon information and belief, Chief Clay was on-duty with the Gauley Bridge PD

at the time of this encounter.

        39.      Mrs. Naylor-Legg and Plaintiff met Chief Clay at a Gauley Bridge PD substation

room located inside Gauley Bridge Town Hall. Chief Clay had access to this room due to his

position as the Chief of the Gauley Bridge PD.




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            40.   Once inside the room, Chief Clay had sexual intercourse with Plaintiff and

ejaculated inside her.

            41.   Chief Clay asked to ejaculate inside Plaintiff, and Mrs. Naylor-Legg directed

Plaintiff (over her objection) to allow him to do so, because Chief Clay was supposedly “fixed.”

            42.   During this encounter, Chief Clay was in his Gauley Bridge PD uniform.

            43.   After Chief Clay was finished, he paid Mrs. Naylor-Legg fifty (50) dollars in

cash.

            44.   After Chief Clay finished, Mrs. Naylor-Legg gave Plaintiff some paper towels to

clean herself with.

            45.   After cleaning herself, Plaintiff threw the paper towels in the corner of room.

            46.   In September 2020, Plaintiff reported these horrendous events to the Fayette

County Sheriff’s Department. An investigation by the West Virginia State Police and the United

States Department of Homeland Security ensued.

            47.   During its investigation, the Department of Homeland Security located the paper

towel(s) used by Plaintiff to clean herself after the second sexual encounter with Chief Clay.

            48.   The towel(s) were found in the Gauley Bridge PD substation room located inside

the former Gauley Bridge High School.

            49.   The towel(s) were tested for DNA by the West Virginia State Police Crime Lab.

            50.   According to the DNA results, the odds of Plaintiff and Chief Clay being

excluded as DNA matches for the substance(s) found on the towel(s) is approximately 1 in 3.9

trillion.




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       51.     On at least one occasion, Chief Clay (with the help of Mrs. Naylor-Legg)

arranged for another law enforcement officer to have sexual intercourse with Plaintiff in

exchange for money.

       52.     Prior to the encounter, Chief Clay showed the other law enforcement officer

naked pictures of Plaintiff.

       53.     At Chief Clay’s direction, this other law enforcement officer (yet to be identified)

also met Mrs. Naylor-Legg and Plaintiff at the Gauley Bridge PD substation room located inside

the former Gauley Bridge High School.

       54.     However, once this other law enforcement officer learned that Plaintiff was only

seventeen (17) years old, he declined to have sexual intercourse with her.

       55.     Upon information and belief, Chief Clay attempted to arrange for other men,

including other law enforcement officers, to have sex with the minor victim in exchange for

money. See, United States v. Clay, No. 2:21-mj-00069, 2021 U.S. Dist. LEXIS 75233, * 3 (S.D.

W. Va. Apr. 19, 2021).

       56.     Upon information and belief, an officer who Chief Clay solicited to engage in

sexual activity with Ms. Naylor-Legg and the minor victim stated that Chief Clay “’had told him

on multiple occasions that he could “hook him up” with local girls to engage in sexual activity.’”

See, United States v. Clay, No. 2:21-mj-00069, 2021 U.S. Dist. LEXIS 75233, * 8 (S.D. W. Va.

Apr. 19, 2021).

       57.     Upon information and belief, an adult female in a sexual relationship with Chief

Clay, stated that Chief Clay would “’arrange for her to engage in sexual activity with other law

enforcement officers, and defendant [Chief Clay] would sometimes participate as well in these




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encounters.’” See, United States v. Clay, No. 2:21-mj-00069, 2021 U.S. Dist. LEXIS 75233, * 8

(S.D. W. Va. Apr. 19, 2021).

       58.     On or around March 24, 2021, charges were brought in the United States District

Court for the Southern District of West Virginia against Mrs. Naylor-Legg and Chief Clay for

Sex Trafficking of a Minor in violation of 18 U.S.C. § 1591(a)(1) [Case No. 2:21-MJ-00068 and

Case No. 2:21-MJ-00069, respectively].

       59.     Around the time that the federal criminal complaint was filed, Plaintiff discovered

that Chief Clay had been displaying the photographs taken while she was naked to other law

enforcement officers at the Gauley Bridge PD.

       60.     Upon information and belief, Gauley Bridge and/or the Gauley Bridge PD,

through their employees, agents, and representatives, were aware and had knowledge of Chief

Clay’s proclivity to participate in inappropriate sexual activities, under color of law and acting in

his capacity as the Chief of the Gauley Bridge PD, including but not limited to, inappropriate

sexual activities with minors and recruiting other law enforcement members to participate in

inappropriate sexual activities with minors.

       61.     Despite being aware and having knowledge of Chief Clay’s propensity to engage

in inappropriate sexual activities while on-duty as the Chief of the Gauley Bridge PD, Gauley

Bridge and/or the Gauley Bridge PD took no remedial, adverse, or other action in response to

Chief Clay’s behavior, fostering a culture of acceptance and tacit approval of Chief Clay’s

inappropriate conduct.




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     COUNT I – FOURTEENTH AMENDMENT SUBSTANATIVE DUE PROCESS
                    VIOLATION UNDER 42 U.S.C. § 1983
                              Chief Clay

       62.      Plaintiff hereby incorporates by reference the allegations contained in paragraphs

1 through 61 as though fully set forth herein.

       63.      Chief Clay, while acting under color of law and within the scope of his

employment as the Chief of Gauley Bridge PD, violated Plaintiff’s constitutional rights by

wantonly inflicting physical harm, as described hereinabove, during the sexual assaults that took

place in June 2020, resulting in damages to Plaintiff. See Jones v. Wellham, 104 F.3d 620 (4th

Cir. 1997).

       64.      Chief Clay, while acting under color of law and within the scope of his

employment as the Chief of Gauley Bridge PD, violated Plaintiff’s constitutional Substantive

Due Process rights by displaying photographs of Plaintiff taken while she was naked and

violating her constitutional right to privacy, resulting in damages to Plaintiff.

       65.      At all material times, Chief Clay was acting in his official capacity as a Gauley

Bridge PD officer.

       66.      The actions of Chief Clay, described hereinabove, violated the constitutional

rights guaranteed to Plaintiff under the Fourteenth Amendment to the United States Constitution.

       67.      Pursuant to W.Va. Code 29-12A-18(e), by alleging violations of the United States

Constitution, the West Virginia Governmental Tort Claims and Insurance Reform Act is

inapplicable.

       68.      The grotesque actions of Chief Clay, described hereinabove, were not taken in

good-faith, were objectively unreasonable, and were in violation of clearly established law.




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       69.     The grotesque actions of Chief Clay, described hereinabove, violated Plaintiff’s

right to liberty, bodily integrity, privacy, and personal autonomy.

       70.     The grotesque actions of Chief Clay, described hereinabove, deliberately injured

Plaintiff in a way unjustified by any government interest.

       71.     The grotesque actions of Chief Clay, described hereinabove, shock the conscious.

       72.     The grotesque actions of Chief Clay, described hereinabove, were unlawful and

unjustified.

       73.     As a direct and proximate result of Chief Clay’s wanton, unjustified, and

unconstitutional actions, Plaintiff suffered severe and permanent physical and emotional injuries,

and will seek compensation for: past and future medical expenses and other economic and

noneconomic damages; pain and suffering, both in the past and in the future; an impairment of

the capacity to enjoy life, both in the past and in the future; annoyance, aggravation,

inconvenience, and mental anguish, both in the past and in the future.

       74.     In addition to these compensatory damages, Plaintiff will also seek to recover,

under 42 U.S.C. § 1983, attorneys’ fees and cost incurred during the course of this litigation.

       75.     The actions of Chief Clay were reprehensible, willful and wanton, malicious, and

in blatant disregard for the rights owed to Plaintiff, thereby justifying an award of punitive

damages.

                       COUNT II – 42 U.S.C. §1983 MONELL CLAIM
                                  City of Gauley Bridge

       76.     Plaintiff hereby incorporates by reference the allegations made in paragraphs 1

through 75 as though fully set forth herein.

       77.     At all relevant times, Gauley Bridge and/or the Gauley Bridge PD had in effect

official policies, practices, or customs attributed to Gauley Bridge and/or the Gauley Bridge PD

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that condoned, excused, and fostered the unconstitutional conduct of Chief Clay, described

hereinabove.

       78.      Chief Clay and other law enforcement officers felt free to engage in the viewing

of inappropriate photographs of Plaintiff and open to discussions of exchanging money for sex

with a minor.

       79.      Gauley Bridge and/or the Gauley Bridge PD improperly hired Chief Clay.

       80.      Upon information and belief, Gauley Bridge and/or the Gauley Bridge PD were

aware and had knowledge of Chief Clay’s proclivity to participate in inappropriate sexual

activities, under color of law and acting in his capacity as the Chief of the Gauley Bridge PD,

including but not limited to, inappropriate sexual activities with minors and recruiting other law

enforcement members to participate in inappropriate sexual activities with minors.

       81.      In the alternative, Gauley Bridge and/or the Gauley Bridge PD failed to properly

screen Chief Clay’s background prior to hiring him and, if an adequate screening had been done,

they would have discovered his proclivity to participate in inappropriate sexual activities, under

color of law and acting in his capacity as a law enforcement officer, including but not limited to,

inappropriate sexual activities with minors and recruiting other law enforcement members to

participate in inappropriate sexual activities with minors.

       82.      The actions or inactions of Gauley Bridge and/or the Gauley Bridge PD

constituted deliberate indifference to Plaintiff's federally protected right to be free from sexual

assault and federally protected right to privacy.

       83.      Gauley Bridge and/or the Gauley Bridge PD should have concluded that the

violation of Plaintiff’s constitutional rights were the plainly obvious consequences of the




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decision to hire Chief Clay given his prior proclivities and inappropriate conduct toward female

minors.

        84.    The hiring of Chief Clay by Gauley Bridge and/or the Gauley Bridge PD was an

official act by Gauley Bridge and/or the Gauley Bridge PD and was the moving force behind the

resulting actions of Chief Clay, proximately causing Plaintiff’s injuries.

        85.    Gauley Bridge and/or the Gauley Bridge PD failed to properly train Chief Clay.

        86.    The failure to train constituted an official policy of Gauley Bridge and/or the

Gauley Bridge PD.

        87.    Gauley Bridge and/or the Gauley Bridge PD failed to properly supervise Chief

Clay.

        88.    The failure to supervise constituted an official policy of Gauley Bridge and/or the

Gauley Bridge PD.

        89.    Gauley Bridge and/or the Gauley Bridge PD’s failure to train or supervise Chief

Clay was deliberately indifferent and reckless with respect to the potential violations of the

constitutional rights of the citizens of Gauley Bridge, including Plaintiff.

        90.    Gauley Bridge and/or the Gauley Bridge PD’s official policies, practices,

customs, and/or failures to train or supervise were the moving force behind the actions of Chief

Clay, proximately causing Plaintiff’s injuries.

        91.    The actions of Gauley Bridge and/or the Gauley Bridge PD, described

hereinabove, violated the constitutional rights guaranteed to Plaintiff under the Fourteenth

Amendment to the United States Constitution.




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       92.      Pursuant to W.Va. Code 29-12A-18(e), by alleging violations of the United States

Constitution, the West Virginia Governmental Tort Claims and Insurance Reform Act is

inapplicable.

       93.      As a direct and proximate result of Gauley Bridge and/or the Gauley Bridge PD’s

wanton, unjustified, and unconstitutional actions, Plaintiff suffered severe and permanent

physical and emotional injuries, and will seek compensation for: past and future medical

expenses and other economic and noneconomic damages; pain and suffering, both in the past and

in the future; an impairment of the capacity to enjoy life, both in the past and in the future;

annoyance, aggravation, inconvenience, and mental anguish, both in the past and in the future.

       94.      In addition to these compensatory damages, Plaintiff will also seek to recover,

under 42 U.S.C. § 1983, attorneys’ fees and cost incurred during the course of this litigation.

                                    COUNT III – ASSAULT
                                        Chief Clay

       95.      Plaintiff hereby incorporates by reference the allegations made in paragraphs 1

through 94 as though fully set forth herein.

       96.      Chief Clay committed an assault upon Plaintiff by acting with the intention of

causing harmful or offensive contact, and by causing Plaintiff to reasonably fear such imminent

harmful or offensive contact.

       97.      As a direct and proximate result of Chief Clay’s harmful, offensive, and

unjustified conduct, Plaintiff suffered severe and permanent physical and emotional injuries, and

will seek compensation for: past and future medical expenses and other economic and

noneconomic damages; pain and suffering, both in the past and in the future; an impairment of

the capacity to enjoy life, both in the past and in the future; annoyance, aggravation,

inconvenience, and mental anguish, both in the past and in the future.

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       98.     The actions of Chief Clay were reprehensible, willful and wanton, malicious, and

in blatant and intentional disregard for the rights owed to Plaintiff, thereby justifying an award of

punitive damages.

       99.     The City of Gauley Bridge is vicariously liable for the acts of Chief Clay

committed within the scope of his employment.

                                    COUNT IV – BATTERY
                                        Chief Clay

       100.    Plaintiff hereby incorporates by reference the allegations made in paragraphs 1

through 99 as though fully set forth herein.

       101.    As set forth hereinabove, Chief Clay did physically contact Plaintiff in a harmful

and offensive way, proximately causing injuries to Plaintiff.

       102.    As a direct and proximate result of Chief Clay’s harmful, offensive, and

unjustified conduct, Plaintiff suffered severe and permanent physical and emotional injuries, and

will seek compensation for: past and future medical expenses and other economic and

noneconomic damages; pain and suffering, both in the past and in the future; an impairment of

the capacity to enjoy life, both in the past and in the future; annoyance, aggravation,

inconvenience, and mental anguish, both in the past and in the future.

       103.    The actions of Chief Clay were reprehensible, willful and wanton, malicious, and

in blatant and intentional disregard for the rights owed to Plaintiff, thereby justifying an award of

punitive damages.

       104.    The City of Gauley Bridge is vicariously liable for the acts of Chief Clay

committed within the scope of his employment.




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                                  COUNT V – NEGLIGENCE
                                        Chief Clay

       105.    Plaintiff hereby incorporates by reference the allegations made in paragraphs 1

through 104 as though fully set forth herein.

       106.    At all times relevant hereto, Chief Clay owed Plaintiff a duty of care.

       107.    As set forth hereinabove, Chief Clay, while acting within the scope of his

employment, breached his duty of care to Plaintiff.

       108.    As a direct and proximate result of Chief Clay’s negligent and reckless conduct,

Plaintiff suffered severe and permanent physical and emotional injuries, and will seek

compensation for: past and future medical expenses and other economic and noneconomic

damages; pain and suffering, both in the past and in the future; an impairment of the capacity to

enjoy life, both in the past and in the future; annoyance, aggravation, inconvenience, and mental

anguish, both in the past and in the future.

       109.    The actions of Chief Clay were reprehensible, willful and wanton, malicious, and

in blatant and intentional disregard for the rights owed to Plaintiff, thereby justifying an award of

punitive damages, to the extent such damages are recoverable under the applicable insurance

policy(s).

       110.    The City of Gauley Bridge is vicariously liable for the acts of Chief Clay

committed within the scope of his employment.

                             COUNT VI – GROSS NEGLIGENCE
                                        Chief Clay

       111.    Plaintiff hereby incorporates by reference the allegations made in paragraphs 1

through 110 as though fully set forth herein.

       112.    At all times relevant hereto, Chief Clay owed Plaintiff a duty of care.


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        113.    As set forth hereinabove, Chief Clay, while acting within the scope of his

employment, breached his duty of care to Plaintiff.

        114.    In breaching his duty of care, Chief Clay displayed a conscious indifference to

probable dangerous consequences of his actions.

        115.    In breaching his duty of care, Chief Clay displayed a reckless disregard for the

safety of Plaintiff.

        116.    As a direct and proximate result of Chief Clay’s negligent and reckless conduct,

Plaintiff suffered severe and permanent physical and emotional injuries, and will seek

compensation for: past and future medical expenses and other economic and noneconomic

damages; pain and suffering, both in the past and in the future; an impairment of the capacity to

enjoy life, both in the past and in the future; annoyance, aggravation, inconvenience, and mental

anguish, both in the past and in the future.

        117.    The actions of Chief Clay were reprehensible, willful and wanton, malicious, and

in blatant and intentional disregard for the rights owed to Plaintiff, thereby justifying an award of

punitive damages, to the extent such damages are recoverable under the applicable insurance

policy(s).

        118.    The City of Gauley Bridge is vicariously liable for the acts of Chief Clay

committed within the scope of his employment.

                        COUNT VII – PRIMA FACIE NEGLIGENCE
                                      Chief Clay

        119.    Plaintiff hereby incorporates by reference the allegations made in paragraphs 1

through 118 as though fully set forth herein.

        120.    As set forth hereinabove, Chief Clay violated code 18 U.S.C. § 1591(a)(1) and 18

U.S.C. § 2251, Sexual Exploitation of Children.

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       121.    Because Chief Clay’s violations of 18 U.S.C. § 1591(a)(1) and 18 U.S.C. § 2251

proximately caused Plaintiff’s injuries, Chief Clay is liable under a theory of prima facie

negligence.

       122.    As a direct and proximate result of Chief Clay’s negligent and grossly negligent

conduct, Plaintiff suffered severe and permanent physical and emotional injuries, and will seek

compensation for: past and future medical expenses and other economic and noneconomic

damages; pain and suffering, both in the past and in the future; an impairment of the capacity to

enjoy life, both in the past and in the future; annoyance, aggravation, inconvenience, and mental

anguish, both in the past and in the future.

       123.    The actions of Chief Clay were reprehensible, willful and wanton, malicious, and

in blatant and intentional disregard for the rights owed to Plaintiff, thereby justifying an award of

punitive damages, to the extent such damages are recoverable under the applicable insurance

policy(s).

       124.    Plaintiff is also entitled to damages enumerated in 18 U.S.C. § 2255(a), including

the actual damages sustained or liquidated damages in the amount of $150,000; the cost of the

action, including reasonable attorney’s fees and other litigation costs reasonably incurred;

punitive damages; and, such other preliminary and equitable relief as the court determines to be

appropriate.

       125.    The City of Gauley Bridge is vicariously liable for the acts of Chief Clay

committed within the scope of his employment.

             COUNT VIII – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                       Chief Clay

       126.    Plaintiff hereby incorporates by reference the allegations made in paragraphs 1

through 125 as though fully set forth herein.

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       127.    Chief Clay’s actions toward Plaintiff, as described hereinabove, were atrocious,

intolerable, and so extreme and outrageous as to exceed the bounds of decency.

       128.    Chief Clay acted with intent to inflict emotional distress or acted recklessly when

it was certain or substantially certain that emotional distress would result from his outrageous

conduct.

       129.    Chief Clay’s heinous actions caused Plaintiff to suffer severe emotional distress.

       130.    The emotional distress was so severe, no reasonable person could be expected to

endure it.

       131.    As a direct and proximate result of Chief Clay’s wanton, reckless, and unjustified

actions, Plaintiff suffered severe emotional distress, both in the past and in the future; mental and

emotional pain and suffering, both in the past and in the future; an impairment of the capacity to

enjoy life, both in the past and in the future; annoyance, aggravation, inconvenience, and mental

anguish, both in the past and in the future.

       132.    The actions of Chief Clay were reprehensible, willful and wanton, malicious, and

in blatant and intentional disregard for the rights owed to Plaintiff, thereby justifying an award of

punitive damages, to the extent such damages are recoverable under the applicable insurance

policy(s).

       133.    The City of Gauley Bridge is vicariously liable for the actions of Chief Clay

committed within the scope of his employment.

                         COUNT IX – INVASION OF RIGHT TO PRIVACY
                                       Chief Clay

       134.    Plaintiff hereby incorporates by reference the allegations made in paragraphs 1

through 133 as though fully set forth herein.




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        135.   Chief Clay displayed naked photographs of Plaintiff to other law enforcement

officers.

        136.   Upon information and belief, Chief Clay displayed these photographs for the

purpose of showing that Plaintiff was willing to engage in sexual activity for money.

        137.   Plaintiff was not willing to engage in sexual activity for money.

        138.   Chief Clay knew or demonstrated a reckless disregard for the fact that Plaintiff

was not willing to engage in sexual activity for money when he displayed the photographs.

        139.   This display would be highly offensive to a reasonable person.

        140.    As a direct and proximate result of Chief Clay’s wrongful invasion of Plaintiff’s

right to privacy, Plaintiff suffered damage to her reputation, both in the past and in the future,

severe emotional distress, both in the past and in the future; mental and emotional pain and

suffering, both in the past and in the future; an impairment of the capacity to enjoy life, both in

the past and in the future; annoyance, aggravation, inconvenience, and mental anguish, both in

the past and in the future.

                              COUNT X – NEGLIGENT HIRING
                                   City of Gauley Bridge

        141.   Plaintiff hereby incorporates by reference the allegations made in paragraphs 1

through 140 as though fully set forth herein.

        142.   At all times relevant hereto, the City of Gauley Bridge and/or the Gauley Bridge

PD owed the citizens of Gauley Bridge, including Plaintiff, a duty of care.

        143.   The City of Gauley Bridge and/or the Gauley Bridge PD owed the citizens of

Gauley Bridge, including Plaintiff, a duty to not negligently hire employees and place them in

position of power and authority where they can cause harm or injuries to others.




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       144.    Upon information and belief, the City of Gauley Bridge and/or the Gauley Bridge

PD did not conduct a reasonable investigation into the background of Chief Clay and did not

adequately assess the possible risk of harm or injury to third-parties that could result from the

conduct of Chief Clay if he were employed as a Gauley Bridge PD officer.

       145.    Upon information and belief, Chief Clay had a history of prior negligent acts and

misconduct when, inter alia, he was employed as a Fayette County Sherriff’s Deputy.

       146.    Upon information and belief, Gauley Bridge and/or the Gauley Bridge PD,

through their employees, agents, and representatives, were aware and had knowledge of Chief

Clay’s prior and present proclivity to participate in inappropriate sexual activities, including, but

not limited to disclosing private intimate images of minors in violation of West Virginia Code

Section 61-8-28a.

       147.    Upon information and belief, had the City of Gauley Bridge and/or the Gauley

Bridge PD conducted a reasonable investigation into the background of Chief Clay, they would

have discovered that he had a history of negligent acts and misconduct.

       148.    Upon information and belief, had the City of Gauley Bridge and/or the Gauley

Bridge PD conducted a reasonable investigation into the background of Chief Clay, the negligent

acts of Chief Clay described hereinabove could have been prevented.

       149.    The City of Gauley Bridge and/or the Gauley Bridge PD have the authority to

formulate, implement, and administer the policies, customs, and practices of their respective

agencies and thus represent their official policies.

       150.    As a direct and proximate result of the City of Gauley Bridge’s and/or the Gauley

Bridge PD’s negligent conduct, Plaintiff suffered severe and permanent injuries.




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       151.    As a direct and proximate result of City of Gauley Bridge’s and/or the Gauley

Bridge PD’s negligent conduct, Plaintiff suffered severe and permanent physical and emotional

injuries, and will seek compensation for: past and future medical expenses and other economic

and noneconomic damages; pain and suffering, both in the past and in the future; an impairment

of the capacity to enjoy life, both in the past and in the future; annoyance, aggravation,

inconvenience, and mental anguish, both in the past and in the future.

               COUNT XI – NEGLIGENT SUPERVISION AND TRAINING
                              City of Gauley Bridge

       152.    Plaintiff hereby incorporates by reference the allegations made in paragraphs 1

through 151 as though fully set forth herein.

       153.    At all times relevant hereto, the City of Gauley Bridge and/or the Gauley Bridge

PD owed the citizens of Gauley Bridge, including Plaintiff, a duty of care.

       154.    The City of Gauley Bridge and/or the Gauley Bridge PD owed the citizens of

Gauley Bridge, including Plaintiff, a duty properly and adequately supervise and train

employees, especially those in positions of power and authority, to prevent them from

negligently causing harm or injuries to others.

       155.    Upon information and belief, Chief Clay was not properly or adequately

supervised or trained by the City of Gauley Bridge and/or the Gauley Bridge PD.

       156.    Upon information and belief, the City of Gauley Bridge and/or the Gauley Bridge

PD’s negligent supervision and training of Chief Clay allowed him to freely commit the

negligent acts described hereinabove.

       157.    Upon information and belief, had the City of Gauley Bridge and/or the Gauley

Bridge PD properly and adequately supervised and trained Chief Clay, the negligent acts of

Chief Clay described hereinabove could have been prevented.

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       158.    The City of Gauley Bridge and/or the Gauley Bridge PD have the authority to

formulate, implement, and administer the policies, customs, and practices of their respective

agencies and thus represent their official policies.

       159.    As a direct and proximate result of the City of Gauley Bridge’s and/or the Gauley

Bridge PD’s negligent conduct, Plaintiff suffered severe and permanent injuries.

       160.    As a direct and proximate result of City of Gauley Bridge’s and/or the Gauley

Bridge PD’s negligent conduct, Plaintiff suffered severe and permanent physical and emotional

injuries, and will seek compensation for: past and future medical expenses and other economic

and noneconomic damages; pain and suffering, both in the past and in the future; an impairment

of the capacity to enjoy life, both in the past and in the future; annoyance, aggravation,

inconvenience, and mental anguish, both in the past and in the future.

                          COUNT XII – NEGLIGENT RETENTION
                                  City of Gauley Bridge

       161.    Plaintiff hereby incorporates by reference the allegations made in paragraphs 1

through 160 as though fully set forth herein.

       162.    At all times relevant hereto, the City of Gauley Bridge and/or the Gauley Bridge

PD owed the citizens of Gauley Bridge, including Plaintiff, a duty of care.

       163.    The City of Gauley Bridge and/or the Gauley Bridge PD owed the citizens of

Gauley Bridge, including Plaintiff, a duty to not negligently retain unfit employees, especially

those in position of power and authority, who have engaged in negligent or otherwise wrongful

conduct.

       164.    Upon information and belief, the City of Gauley Bridge and/or the Gauley Bridge

PD knew or should have known that Chief Clay was an unfit employee, but retained him

anyway.

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        165.    Upon information and belief, the City of Gauley Bridge and/or the Gauley Bridge

PD could have reasonably foreseen the possible risk of harm or injury to others that could result

from the conduct of its unfit employee, Chief Clay.

        166.    Upon information and belief, had the City of Gauley Bridge and/or the Gauley

Bridge PD not negligently retained Chief Clay, the negligent acts of Chief Clay described

hereinabove could have been prevented.

        167.    The City of Gauley Bridge and/or the Gauley Bridge PD have the authority to

formulate, implement, and administer the policies, customs, and practices of their respective

agencies and thus represent their official policies.

        168.    As a direct and proximate result of the City of Gauley Bridge’s and/or the Gauley

Bridge PD’s negligent conduct, Plaintiff suffered severe and permanent injuries.

        169.    As a direct and proximate result of City of Gauley Bridge’s and/or the Gauley

Bridge PD’s negligent conduct, Plaintiff suffered severe and permanent physical and emotional

injuries, and will seek compensation for: past and future medical expenses and other economic

and noneconomic damages; pain and suffering, both in the past and in the future; an impairment

of the capacity to enjoy life, both in the past and in the future; annoyance, aggravation,

inconvenience, and mental anguish, both in the past and in the future.

       COUNT XIII – VIOLATIONS OF 18 U.S.C. § 1591(a)(1) and 18 U.S.C. § 2255
                                 Chief Clay

        170.    Plaintiff hereby incorporates by reference the allegations made in paragraphs 1

through 169 as though fully set forth herein.

        171.    Chief Clay violated 18 U.S.C. 1591(a)(1) and 18 U.S.C. § 2251, proximately

causing injuries to Plaintiff.




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       172.    As a direct and proximate result of Chief Clay’s violation of §1591(a)(1) and §

2251, Plaintiff suffered severe and permanent physical and emotional injuries, and will seek

compensation for: past and future medical expenses and other economic and noneconomic

damages; pain and suffering, both in the past and in the future; an impairment of the capacity to

enjoy life, both in the past and in the future; annoyance, aggravation, inconvenience, and mental

anguish, both in the past and in the future.

       173.    In addition to these compensatory damages, Plaintiff will also seek to recover,

under § 2255(a), all available remedies, including, but not limited to, attorneys’ fees and cost

incurred during the course of this litigation.

       174.    The City of Gauley Bridge is vicariously liable for the acts of Chief Clay

committed within the scope of his employment.

       WHEREFORE, Plaintiff demands judgment in her favor against Defendants in an

amount to be proven at trial, together with pre-judgment and post-judgment interest; for all

damages recoverable under law; for punitive damages, where applicable; for attorneys’ fees

under 42 U.S.C. § 1983; damages under 18 U.S.C. § 2255; for expenses and costs of litigation;

and for such other and further relief this Honorable Court deems just and proper.

   PLAINTIFF DEMANDS A TRIAL BY JURY.

                                                          JANE DOE,
                                                          By Counsel

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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            CHARLESTON DIVISION

JANE DOE,                          )
                                   )
      Plaintiff,                   )
                                   )
v.                                 )                    Civil Action No. 2:21-cv-00491
                                   )                    The Honorable Judge Johnston
THE CITY OF GAULEY BRIDGE and )
LARRY CLAY, JR., individually as a )
member of the Gauley Bridge Police )
Department,                        )
                                   )
      Defendants.                  )
__________________________________ )

                                CERTIFICATE OF SERVICE

       The undersigned counsel for Plaintiff hereby certifies that a true and correct copy of the

foregoing AMENDED COMPLAINT was filed with the clerk on March 21, 2022 via the Court’s

CM-ECF Filing System which will provide electronic notification to all counsel of record.

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